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                IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


STEVEN ROBERT BROWN,

          Plaintiff,

     v.                                   CIVIL ACTION NO. 1:22-CV-80
                                                     (KLEEH)
BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES,
PATRICK MORRISEY, West Virginia
Attorney General, in his official capacity,
MERRICK BRIAN GARLAND, U.S. Attorney General,
in his official capacity, and
STEVEN MICHAEL DETTELBACH, Director
of the ATF, in his official capacity,

          Defendants.

                           ORDER OF REFERRAL

     Pursuant to 28 U.S.C. §§ 636(b)(1)(A) and 636(b)(1)(B), and
L.R. Civ. P. 7.02(c) and 72.01, the Court REFERS this matter to
the Honorable Michael J. Aloi, United States Magistrate Judge, to
conduct a scheduling conference and issue a scheduling order, for
written orders or reports and recommendations, as the case may be,
regarding any motions filed, and to dispose of any other matters
that may arise.
     It is so ORDERED.
     The Court DIRECTS the Clerk to transmit copies of this Order
of Referral to counsel of record; to the pro se Plaintiff via
certified mail, return receipt requested; and to the Honorable
Michael J. Aloi, United States Magistrate Judge.
     DATED: August 31, 2022


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                                  THOMAS S. KLEEH, CHIEF JUDGE
                                  NORTHERN DISTRICT OF WEST VIRGINIA
